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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :    Case No. 1:21-cr-382 (PLF)
                                                 :
CHRISTOPHER WARNAGIRIS,                          :
                                                 :
                       Defendant.                :

                GOVERNMENT’S RESPONSE TO THE COURT’S ORDER

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully submits this opposition to the defendant’s motion for exculpatory

evidence, ECF No. 62, and the related Order of the Court, ECF No. 91. To the extent the

government seeks to respond to any of the Court’s order ex parte, we will do so in a separate filing,

consistent with the Court’s order.

   I.      Legal Argument and Concerns

        The defendant’s motion fundamentally misunderstands the government’s obligations

regarding voluminous discovery. The government does not have the burden to sort through

voluminous discovery to identify any potential evidence that could be considered Brady material

under any possible defense theory. United States v. Chansley, 21-cr-3 (RCL), 2023 WL 4637312

at *13 (D.D.C. Jul. 20, 2023) (“In other words, Saffarinia does not require the government to

specifically identify to a defendant any evidence in the government's voluminous disclosures that

could conceivably qualify as Brady material based on the government's anticipation of any

possible defense theory.”); see also Arizona v. Youngblood, 488 U.S. 51, 59 (1988) (noting that

the government does not have a constitutional duty to perform any particular tests); United States

v. Nichols, 21-cr-117 (RCL), 2023 WL 6809937 at *5 (D.D.C. Oct. 16, 2023) (mere speculation

is not sufficient to establish a Brady claim).
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       In this case, the defendant identified a single, publicly-available video where the named

victim-officer engaged with rioters in a way that the defendant contends is exculpatory. ECF No.

62 at 1-2. In the video, Officer A.W. is visible amongst a line of United States Capitol Police

(“USCP”) officers on the East Front of the U.S. Capitol.1 The officers are standing in front of a

large group of demonstrators and behind a bicycle rack barricade. After speaking to an individual

with a megaphone (Individual 1), Officer A.W. speaks to the crowd and says, “Listen up folks.

We can’t do anything in chaos. We understand it’s your house. We have a job to do as well.

Everybody get under control. We’ll push it up to our leadership, see what we can do about getting

you to the stairs.”2 Individual 1 then uses the megaphone to tell the crowd that Officer A.W. was

going to ask his superiors if the crowd could move to the steps of the U.S. Capitol “for the purpose

that we don’t want violence.” Individual 1 continued, “we don’t want harm, we don’t want

destruction, and we don’t want you going to jail if you don’t have to.” The video splices in several

other videos purportedly from the same time where the demonstrators continue to discuss the

possibility of moving towards the steps of the Capitol Building. Then, without the context of the

intervening time, the video jumps forward to show rioters standing before the Columbus Doors

leading into the eastside of the Capitol. The video’s editor identifies a police officer standing

amongst the crowd as Officer A.W. The person capturing the video describes the officer as “very

nice” and “incredibly calm.” The officer tells the rioters, “I just wanna go that way,” in the



1
 The video is available online at: https://rumble.com/v27algs-january-26-2023.html (last accessed
November 30, 2023).
2
  The video’s transcript as cited here is copied out to the best of the government’s comprehension
of the audio. As a result, the transcript here conflicts with some of the captions superimposed on
the video by its editor.

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direction of the Columbus Doors. The officer continues, “You can guys still push, I’m gonna go

that way.” The same individual laughs in response and says, “He just said we can still push. What

a nice cop.” Near the end of the video, while crushed from all sides by rioters and still outside the

Capitol Building, one rioter extends his fist towards Officer A.W. for a “fist bump,” which the

officer appears to respond to or reciprocate. The Court should note that this video is not a single,

continuous feed. Rather, it is spliced and condenses multiple videos from different locations and

times in and around the Capitol Building on January 6, 2021.3

       At trial, the government anticipates that Officer A.W. will testify that his comments made

to Individual 1 occurred shortly after an attempted violent breach at the bicycle rack barricade.

During that incident, several rioters tried to use the bicycle racks as weapons to assault Officer

A.W. and his fellow officers. Officer A.W.’s comments were thus an attempt to calm the rioters’

fervor. The government also anticipates that Officer A.W. will testify that while outside of the

Columbus Doors, he was outnumbered by the rioters who surrounded him on all sides. At the time,

he continued to try to placate the rioters while he moved towards safety inside the Capitol Building.

In other words, Officer A.W. was attempting to use whatever exhortations he could muster to keep

the peace. But his words were not an invitation to commit crime, or continue to commit crimes.

       Based on this video alone, the defendant now seeks “a face-trace list” of this officer sourced

from all publicly available media and BWC from January 6. ECF Nos. 62, 80. But the only proffer

made by the defendant is a conclusory statement that the “face-trace list” would be “material,



3
 For example, the bulk of the video appears to be several clips taken at different areas – like the
East Front of the Capitol or rioters standing just outside of the Columbus Doors (skipping the East
Front being overrun by rioters). The video appears to collate several videos of Officer A.W.’s
actions to support a single narrative.

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favorable to the defense, and exculpatory in nature.” ECF No. 62 at 2-3. “This is the sort of mere

speculation that does not suffice for a Brady claim.” Nichols, 2023 WL 6809937, at *8 (internal

quotation omitted). The defendant is merely taking a “shot in the dark” that the list would contain

material evidence. Id. Therefore, “[a]bsent any actual indication that the requested [‘face-trace

list’] would support the defendant’s [argument],” . . . “the information is not material and not

subject to disclosure.” Id. at *9.

        Here, the defendant’s proffer lacks materiality, context, and most importantly, factual

support. To start, at no point in the defendant’s motion and reply does he articulate exactly how

this video is Brady to him.4 Even assuming arguendo that the underlying theory is that the officer

somehow encouraged members of the already ongoing mass riot to continue to riot, none of that

has a nexus to the defendant’s interaction with said officer. In fact, nowhere does the defendant

even proffer that he himself was encouraged, solicited, cajoled, entrapped, or otherwise forced to

participate in a riot because of some proximate cause or association with this officer. Nor could

he. This type of claim – that a single officer somehow authorized a person to commit a crime in

the middle of a violent riot – is meritless,5 particularly when the government has provided the tools


4
  If, for example, the defendant believed that this video supported an entrapment by estoppel
defense, he needs to articulate that argument to properly assert a Brady claim. Nonetheless, after
the defendant filed his numerous motions related to his demand for a “face-trace list” of Officer
A.W., defense counsel reported to the Court that the entrapment by estoppel defense was “not
applicable to this case.” Motions Hrg. Tr., Oct. 16, 2023, 28:6-17.
5
  The defendant’s claim barely acknowledges the law on entrapment by estoppel or public
authority defenses. The defense of entrapment by estoppel only “applies to a defendant who
reasonably relies on the assurance of a government official that specified conduct will not violate
the law.” United States v. Alvarado, 808 F.3d 474, 484–85 (11th Cir. 2015). Such reliance must
be “objectively reasonable.” United States v. Barker, 546 F.2d 940, 948 (D.C. Cir. 1976). Just like
how a President cannot authorize an assault on the legislative branch, see United States v.
Chrestman, 525 F. Supp. 3d 14, 32-33 (D.D.C. 2021), “statutory law applies with equal force to

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necessary to search discovery databases for said information. See, e.g., United States v. William

Pope, 21-cr-128 (RC), ECF No. 103 at 8 (“At the outset, it bears repeating that Defendant has full

access to possess all Sensitive materials and to view all Highly Sensitive material under

supervision by standby counsel”); United States v. Craig Bingert, 21-cr-91 (RCL) (May 11, 2023

Minute Order denying ECF No. 149).

       Fatal to the defendant’s ultimate claim is that the material they claim is Brady is simply

not exculpatory. There is no evidence that the interaction the defendant proffered occurred within

the vicinity of the defendant. Without a factual nexus to the defendant, there is no basis to speculate

that the material is actually favorable to the defendant in a way to undercut an element at trial. The

defendant has not even attempted to articulate how the officer’s conduct on that day – before,

during, or after his later interaction with the defendant – impacted whether the defendant acted

knowingly or willfully when he engaged in the charged conduct. While the government’s duty to

provide exculpatory information is clear, it nonetheless is worth contextualizing that the defendant

knows where he went on the day he committed the crime, and yet has offered no evidence that this

extraordinary task he now seeks will yield information that undercuts his liability.

       But even if a defendant adequately proffers a factual basis for his Brady claim, the

government must also singularly possess the targeted material. The purpose of Brady is to ensure

that the government provides the defendant with exculpatory material in its exclusive control,



government actors in less powerful offices, such as law enforcement officers protecting the U.S.
Capitol Building.” United States v. Williams, 21-cr-377 (BAH), ECF No. 87 at *2 (D.D.C. Jun. 8,
2022). Even if the defendant could establish that a member of law enforcement told him that it was
lawful to enter the Capitol building or allowed them to do so, the defendant’s reliance on any such
statement would not be reasonable in light of the “obvious police barricades, police lines, and
police orders restricting entry at the Capitol.” Chrestman, 525 F. Supp. 3d at 32.

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which is also unknown to the defendant. See United States v. Derr, 990 F.2d 1330, 1335 (D.C. Cir.

1993) (citing United States v. Agurs, 427 U.S. 87, 103 (1976) (“Brady only requires disclosure of

information unknown to the defendant.”); United States v. Flynn, 411 F. Supp. 3d 15, 32 (D.D.C.

2019) (“Brady does not extend to information that is not within the government's possession[.]”)

(internal citation omitted); see also United States v. Mota, 685 F.3d 644, 648 (7th Cir. 2012)

(concluding a Brady violation where the government failed to provide material in its exclusive

control). However, when courts have addressed the issue of Brady in conjunction with publicly

accessible records or materials otherwise available to the defendant, courts have generally held

that “the government is not obliged under Brady to furnish a defendant with information which he

already has or, with any reasonable diligence, he can obtain himself.” United States v.

Campagnuolo, 592 F.2d 852, 861 (5th Cir. 1979); see also United States v. Cruz-Feliciano, 786

F.3d 78, 87-88 (1st Cir. 2015); Coe v. Bell, 161 F.3d 320, 344 (6th Cir. 1998); United States v.

Payne, 63 F.3d 1200, 1208 (2d Cir. 1995); Jarrell v. Balkcom, 735 F.2d 1242, 1258 (11th Cir.

1984); but see Dennis v. Sec’y, Pennsylvania Dep’t of Corr., 834 F.3d 263, 288-293 (3d Cir. 2016)

(in dicta, concluding that there would be a Brady violation where the government failed to provide

a copy of a receipt in its possession even if the receipt was publicly available). Thus, where

materials otherwise exist in an accessible format to the defendant, those materials are not subject

to Brady. See United States v. Borda, 941 F. Supp. 2d 16, 25 (D.D.C. 2013) (“[T]here cannot be a

Brady violation for failure to disclose public documents which the Defendants could have found

on their own.”); United States v. Blackley, 986 F. Supp. 600, 603 (D.D.C. 1997) (“The policies

requested by defense counsel are available to the public and something that can be readily obtained

by others is, by definition, not ‘suppressed’”).


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       Here, the targeted materials identified by the defendant are in his words “publicly

available,” and therefore are accessible by him just as easily as the government. ECF No. 62 at 3.

Accordingly, these materials fall outside the scope of Brady. Derr, 990 F.2d at 1335; Flynn, 411

F. Supp. 3d at 32. Nonetheless, the government has made significant efforts to make publicly-

sourced videos provided to or recovered by the government available to the defense through global

discovery. Indeed, scores of January 6 defendants have found materials within the government’s

discovery productions that the defendant now claims is simply impossible for him to obtain. See,

e.g., United States v. William Pope, 21-cr-128 (RC), ECF Nos. 72 at 22-24; 81 at 14; 82; 90 at 2;

United States v. Eric Christie, 23-cr-5 (APM) (defense counsel identified radio recordings within

global discovery that it contended was Brady); United States v. Bradley Bennett, 21-cr-31 (JEB)

(defense counsel coordinated with Relativity representations and created a presentation for plea

negotiation purposes); United States v. Jonathan Munafo, 21-cr-330 (JEB) (defense counsel

reviewed global discovery for comparable defendants similarly-situated); United States v. Elliot

Resnick, 23-mj-58 (same); United States v. Leo Kelly, 21-cr-718 (RCL) (defense counsel identified

police materials claimed to support ongoing restricted perimeter litigation); United States v.

Kenneth Thomas, 21-cr-552 (DLF), ECF No. 96 (defendant’s preliminary exhibit list contained

426 items, including footage from MPD that was not provided in case-specific discovery, but was

a part of global discovery); United States v. Daniel Gray, 21-cr-495 (ABJ) (defendant provided an

analysis of evidence found by the defendant in global discovery).

       The defendant’s request is not simply rooted in seeking material or reviewing existing

evidence. Rather, he wants the government to create a list of evidence that does not currently exist.

But the government “do[es] not have a constitutional duty to perform any particular tests” or


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investigation that may lead to exculpatory or impeachment material. Youngblood, 488 U.S. at 59.

The application of this rule extends, but is not limited, to the recovery of fingerprints, Brown v.

United States, 881 A.2d 586, 594 n.11 (D.C. 2005) (internal citation omitted), collection of DNA

evidence, Youngblood, 488 U.S. at 58-59, and performance of comparative ballistics analysis,

Bellinger v. United States, 127 A.3d 505, 520-521 (D.C. 2015). In such cases, courts will allow

defendants to conduct their own investigation to locate the relevant evidence they seek. 18 U.S.C.

§ 3006A(e)(1); United States v. Burroughs, 613 F.3d 233, 239 (D.C. Cir. 2010) (discussing the

defendant’s burden to show necessity to receive funds for an investigator). Thus, where the

defendant wants to collect and review evidence, the remedy is not to have the government do that

task for him. Rather, the defendant has the burden to do so himself, even if doing so is expensive

or time-consuming.

        This legal concept is neither new nor novel. See, e.g., United States v. Alverio-Melendez,

640 F.3d 412, 424 (1st Cir. 2011) (“The failure to create exculpatory evidence does not constitute

a Brady violation.”); United States v. Gray, 648 F.3d 562, 567 (7th Cir. 2011) (“That’s why Gray

is reduced to arguing that in advance of trial the government should have directed EDS to create

and run programs to extract data from its database that would be useful to the defense. That

argument is a non-starter. . . . It implies that the state has a duty not merely to disclose but also to

create truthful exculpatory evidence. The failure to create exculpatory evidence does not constitute

a Brady violation.”) (emphasis in original and citations omitted); United States v. Graham, 484

F.3d 413, 417 (6th Cir. 2007) (“Brady clearly does not impose an affirmative duty upon the

government to take action to discover information which it does not possess.”); United States v.

Edwards, 442 F.3d 258, 266 (5th Cir. 2006) (“The prosecution has no duty to turn over to the


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defense evidence that does not exist.”) (editorial marks omitted); United States v. Monroe, 943

F.2d 1007, 1011 n.2 (9th Cir. 1991) (“Brady does not require the government to create exculpatory

evidence that does not exist.”); United States v. Sukumolachan, 610 F.2d 685, 687 (9th Cir. 1980)

(“Brady [] does not require the government to create exculpatory material that does not exist.”);

Werth v. United States, 493 F. App’x 361, 366 (4th Cir. 2012) (“While the government is obligated

to disclose favorable evidence in its possession, it is not required to create evidence that might be

helpful to the defense.”); United States v. Nguyen, 98 F. App’x 608, 609 (9th Cir. 2004) (“Brady

does not require the government to interview witnesses or otherwise create exculpatory evidence

not then in existence.”).

       In United States v. Brock, the court dealt with a similar motion for discovery in a case

related to the January 6 riot at the U.S. Capitol. 628 F. Supp. 3d 85 (D.D.C. 2022) (Bates, J.). In

Brock’s motion, he identified an unknown individual in a video and demanded that the government

identify him. Id. at 100. In denying Brock’s motion, Judge Bates noted that although the

government’s response suggested the relevant individual was a law enforcement officer, neither

party asserted that the individual’s identity was known to the government. Id. The government

conceivably could have conducted further investigation to confirm that individual’s identity,

including within its own holdings. Nonetheless, Judge Bates properly concluded that “there is no

outstanding information [the defendant] requests from this video that the prosecution has an

obligation to provide under Brady or Rule 16.” Id. The same is true here. Judge Bates’ decision

comports with courts’ reluctance to “require[e] the government to, in effect, do defense counsel's

work for them and of inserting itself into the fray of micromanaging discovery . . . .” United States

v. Sheppard, 2022 WL 17978837, 21-cr-203 (JDB), at *14 (D.D.C. Dec. 28, 2022).


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       Here, the defendant asks the Court to take the unprecedented step of ordering the

government to seek out and review material that the defendant may otherwise access, or in the

alternative (according to him) task a private person or group of persons to do the defendant’s job

for him. ECF No. 62 at 2.

       Contrary to the defendant’s unsupported claims, there are several facial recognition

programs commercially available to the public. One such program is Amazon’s Rekognition,

which allows users to upload media files or reference URLs containing media and run facial

recognition    against      the   individuals   depicted     in   the      media.   Available   at:

https://aws.amazon.com/rekognition/ (last accessed November 30, 2023). While the defendant

may find it more convenient or cheaper to review a list of media distilled by the government,

“Brady does not require the government to facilitate the compilation of exculpatory material that,

with some industry, [the defendant] could marshal on their own.” United States v. Runyan, 290

F.3d 223, 246 (5th Cir. 2002) (internal citation and quotation omitted).




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                                       CONCLUSION

       For the reasons stated above, the government respectfully requests that the Court deny the

defendant’s motion.

                                            Respectfully submitted,

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